                Case 23-10831-MFW               Doc 963        Filed 02/09/24        Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al.,1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Diana Mauricio, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

         On February 6, 2024, I caused copies of the
             • [Customized for Rule 3001(e)(2) or 3001(e)(4)] Notice of Transfer of Claim
                 Pursuant to F.R.B.P. 3001(e)(2) or 3001(e)(4) [Re Docket Nos. 867 and 890]
         to be served on the parties attached hereto as Exhibit A via First Class Mail.

         Furthermore, on February 6, 2024, I caused copies of the
             • [Customized for Rule 3001(e)(1) or 3001(e)(3)] Notice of Transfer of Claim
                 Pursuant to F.R.B.P. 3001(e)(1) or 3001(e)(3) [Re Docket Nos. 779, 780, and
                 781]
         to be served on the parties attached hereto as Exhibit B via First Class Mail.


Dated: February 9, 2024
                                                                   /s/ Diana Mauricio
                                                                   Diana Mauricio
                                                                   KCC
                                                                   222 N. Pacific Coast Highway, 3rd Floor
                                                                   El Segundo, CA 90245
                                                                   Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
Case 23-10831-MFW   Doc 963   Filed 02/09/24   Page 2 of 5




                    Exhibit A
                                                  Case 23-10831-MFW                 Doc 963         Filed 02/09/24           Page 3 of 5
                                                                                          Exhibit A
                                                                                 Rule 3001(e)(2) or 3001(e)(4)
                                                                                 Served via First Class Mail


                                                                                                                                      Claim     Claim      Transferred Docket   Party
    CreditorName          CreditorNoticeName          Address1           Address2          City        State      Zip    Country     Number    Amount        Amount    Number Description
                                                12 West 37th Street,
Argo Partners                                   Ste 900                              New York        NY          10018                976     $51,780.10   $51,780.10   867    Transferee
Schwab Industries, Inc.   Brian Gibson          50850 Rizzo Drive                    Shelby Township MI          49315                976     $51,780.10   $51,780.10   867    Transferor

                          Attn Robert K. Minkoff, 600 Madison Avenue,
Cedar Glade LP            President               17th Floor                          New York         NY        10022                757     $63,946.22   $63,946.22   890    Transferee
                                                                        12 Rue Pierre
IEE S.A.                  Antoine Arroyo        Zone Industrielle       Richardot     Echternach                 L-6468 Luxembourg    757     $63,946.22   $63,946.22   890    Transferor




  In re Lordstown Motors Corp., et al.
  Case No. 23-10831 (MFW)                                                                Page 1 of 2
Case 23-10831-MFW   Doc 963   Filed 02/09/24   Page 4 of 5




                    Exhibit B
                                                   Case 23-10831-MFW                Doc 963         Filed 02/09/24     Page 5 of 5
                                                                                          Exhibit B
                                                                                 Rule 3001(e)(1) or 3001(e)(3)
                                                                                  Served via First Class Mail


                                                                                                                                       Scheduled Transferred Docket    Party
      CreditorName                      CreditorNoticeName                      Address1                City    State   Zip  Country    Amount     Amount    Number Description
Fair Harbor Capital, LLC      As Assignee of Mainfreight Inc - Canada   PO Box 237037               New York    NY    10023            $4,500.00  $4,500.00    779  Transferee
Mainfreight, Inc - Canada     Dalida David                              230 Export Blvd             Mississauga ON    L5S1Y9 Canada    $4,500.00  $4,500.00    779   Transferor

Fair Harbor Capital, LLC      As Assignee of Roush Industries Inc       PO Box 237037               New York     NY   10023            $28,504.76   $28,504.76   780   Transferee
Roush Industries, Inc.        Henry Gerring                             34300 West Nine Mile Road   Farmington   MI   48335            $28,504.76   $28,504.76   780   Transferor

Fair Harbor Capital, LLC      As Assignee of WIT Legal, LLC             PO Box 237037               New York     NY   10023            $2,935.00    $2,935.00    781   Transferee
WIT Legal, LLC                Samanthia Graham                          1370 Broadway Suite 1500    New York     NY   10018            $2,935.00    $2,935.00    781   Transferor




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                  Page 2 of 2
